Case 2:20-cv-05581-DSF-GJS         Document 382 Filed 08/28/24                Page 1 of 26 Page ID
                                         #:6924
                                                                                 FILED

      1  EDWARD HELDMAN III
         10614 West Crosby                                           tQ2a auc 2s PM ~:5~
      2 Sun Cit ,Arizonna 85351
        (201)6~9-7428                                                CL~~R !J_S. ClSTRICt ^,~lJ~?T
      3 Eheldman.ProPer@proton.me
                                                                    ,,. ;r,
      4

      5 ~ Defendant Appearing in Pro Per

      6

      7

      8 ~                         UNITED STATES DISTRICT COURT
     9                           CENTRAL DISTRICT OF CALIFORNIA
     10

     11                                                 Case No.2:20-cv-05581-DSF-GJSx
             B EYOND              B L O N D
     12
             PRODUCTIONS,LLC,a California
             Limited Liability Company,                    Honorable Dale S. Fischer
     13                                  Plaintiff,    RESPONSE TO MOTION FOR
     14
                                                       SANCTIONS; DECLARATION OF
             v.                                        EDWARD HELDMAN III; EXHIBITS
     15
             EDWARD HELDMAN III an
     16
             individual; COMEDYMX I1~C. a
             Nevada Corporation;COM~DYlV~X,
     17
             a Delaware Limited Liability
             Company,
     18                               Defendants.
     19
             RELATED COUNTER-CLAIMS
    20

    21
                   Defendant EDWARD HELDMAN III hereby submits this Response to
    22
            Plaintiff's Motion for Sanctions. My prior bankruptcy counsel did confirm that billed
    23
            hours occurred after dismissal of the bankruptcy action.
    24
                   Filed herewith as Exhibit 1 is an attached Declaration of Steven S. Vahidi,
    25
            with his attachment of Exhibit A of specified meet and confer e-mail traffic with
    26
            Plaintiff's counsel re this motion
    27
                   Filed herewith as Exhibit 2 is an e-mail chain forwarded by Mr. Vahidi to me
    28

                                       RESPONSE TO MOTION FOR SANCTIONS.
Case 2:20-cv-05581-DSF-GJS          Document 382 Filed 08/28/24            Page 2 of 26 Page ID
                                          #:6925



      1   on July 11, 2024 containing his complete meet and confer e-mail traffic with
      2 Plaintiff's counsel re this motion.

      3             Exhibits 1 and 2 demonstrate the wasteful and excessive e-mail practices of
     4    Plaintiff's counsel,including — as described by Mr. Vahidi —repeated sham meet and
      5   confer practices, which can be extrapolated to all of their billing practices
     6              Filed here with as Exhibit 3 is an attached Declaration or Meir J. Westreich,
     7    previously filed on a related motion,andjudicial notice thereofis requested. This too
     8    demonstrates the wasteful and excessive e-mail practices ofPlaintiff's counsel, and
     9 other time-wasting practices, which can be extrapolated to all of their billing
     10   practices.
     11             The whole premise ofthis sanctions motion and its underlying motions is that
     12   the contempt claims and sanctions entitlement are a slam dunk. And Plaintiff's
     13   counsel bills out at a hefty hourly rate of $625. If so, why so many words? Why so
     14   much time expended for a simple, obvious task?
     15             The sanctions requested should be no more than one-third of what is billed,
     16   ifthat.
     17   Dated: August 26, 2024
     18

     19                                          war     e man      - n ro er
    20                      DECLARATION OF EDWARD HELDMAN III
    21              1. I am Defendant Edward Heldman III, appearing in Pro Per.
    22              2. 1 needed and requested input from multiple prior counsel, now obtained.
    23    Exhibits filed herewith are true and correct copies
    24              3. I have difficulty with practical aspects of getting filings executed, served
    25    and filed, all the more so as I reside in Arizona. I use an attorney service to handle
    26    manual filings.
    27              4. Hence, this is being served today, but will not be filed until tomorrow.
    28

                                       RESPONSE TO MOTION FOR SANCTIONS.
Case 2:20-cv-05581-DSF-GJS       Document 382 Filed 08/28/24             Page 3 of 26 Page ID
                                       #:6926



                  5. I wrote to Plaintiff's counsel stating this intended sequence. He did not
      2    respond as yet.
      3            I declare under penalty ofperjury under the laws ofthe State ofCalifornia that
     4     the above is true and correct. Executed on August 26,2024,at Sun City, Arizona.
      S

     6                                             Edward Heldman III
      7

     8

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                                     RESPONSE TO MOTION FOR SANCTIONS.
Case 2:20-cv-05581-DSF-GJS   Document 382 Filed 08/28/24   Page 4 of 26 Page ID
                                   #:6927
            Case 2:20-cv-05581-DSF-GJS          Document 382 Filed 08/28/24       Page 5 of 26 Page ID
                                                      #:6928




                  1                    DECLARATION OF STEVEN S. VAHIDI,ESQ.
                 2          I, Steven S. Vahidi, declare:
                [
                j           I am an attorney duly licensed to practice before the United States District Court
                 4 for the Central District of California and a principal with the law firm of Vahidi Law
                 5 Group, former attorneys of record for Edward Heldman, III, a party to this action, and
                 6 have personal knowledge of each and all of the facts stated in this declaration. If called
                 7 as a witness, I could and would competently testify to the facts contained herein.

  o              g       1.    On May 6,2024,counsel for Beyond Blond Productions,LLC,
  ~~
  N~~,           9 contacted me by email seeking to meet and confer regarding a stipulation
  U a'
  v V           IO    to amend the preliminary injunction in accordance with this Court's March
  m~ ~w
   o `~>W
  ~~            11 25, 2024 Order (Dkt. 366). Attached as Exhibit A is a true and correct
a 3~
o ZM            12 copy of an email string dated July 11, 2024.
~ o~N
~ M o~ 13                   2.    The entirety of Beyond Blond's May 6, 2024 email states:
3 ~m~
  ~         ~
                                  Pleaseppovide your availability to meet and confer to discuss
   ~ ~~ 14
~ ~wM
o~m W
= ~Q~   15                        a stipulation to amend the preliminary injunction.
a ;o
  ~W "'
     ~ 16                         Per Judge Fischer's order granting the motion for contempt
  ~~
  ~~ ~~ 17                        and award ofattorneys'fees associated t{aerewith (Dkt. 366),
  ~  Q~
   _" 18
  U Z
 ~ J
                                  Beyo~ad Blond seeks $21,808.
 m a
 o~
                19                      Most sincerely,
                20                      Kirstin Jensvold-Ricmage
                21                      Associate Attorney
                22 (emphasis added).
                23         3.     On May 17, 2024, I met and conferred via conference call with Kirstin
                24 Jensvold-Rumage, Esq. and Milord Keshishian, Esq. to discuss amending the
                25 preliminary injunction per the May 6,2024 email, and was disappointed (once again) to
                26 find out that counsel for Beyond Blond Productions, LLC had apparently done a "bait
                27 and switch" and had no intent on discussing amending the preliminary injunction.
                28         4.     Specifically, attorney Keshishian had a different agenda. He stated I have
                                                                 1             CASE NO. 2:22-cv-07092 SPG(MARx)
                                              DECLARATION OF STEVEN S. VAHIDI,ESQ.
          Case 2:20-cv-05581-DSF-GJS       Document 382 Filed 08/28/24         Page 6 of 26 Page ID
                                                 #:6929




             1 nothing to discuss regarding demonization and that "someone here is working on the
             2 proposed language." As such no substantive meet and confer regarding amending the
             3 ~ plenary injunction occurred.
             4        5.     Instead, attorney Keshishian demanded $21,808 in attorney's fees but was
             5 ~ unable to provide any details regarding those fees whatsoever.
             C1       6.     I asked both counsel for Beyond Blond why are we meeting on a subject
             7 ~ ~ that counsel for Beyond Blond had not scheduled to discuss and on a subject that they

  0          8 have no details about?
  ~N~        9       7.     Keshishian responded that I should go discuss this matter with Attorney
  U~
   U~       lO "Westreich because he knows what to do and has done it with us before."
  mw ~w
  ~o >~     11        8.     I asked Keshishian the basis for the request of$21,808 in attorney's fees so
a 3~
o ZM        12 that I have an understanding of what Beyond Blond is seeking other than a pre-
~ g~ N
~ M~~ 13 determined amount. Keshishian responded that he had no details but that he would
~ ~m~
      W~ 14 forward supporting documents in the future.
~ ~~ ~~
      m W
= ~Q~     15      9.    Following the call, I immediately followed up with an email memorializing
a do
     ~ 16 and describing the purported meet and confer conference call. See Exhibit A.
  ~W "'
   ~
   W ~~,
 '"~ ~o 17        10. Importantly, this Court should be aware that this is the second purported
  ~ Q~
   _" 18 meet and confer sought by counsel for Bevond Blond Productions, LLC that was a sham
   U Z
  ~ J
  m c
    Q

  0L
  0         19 and apparently scheduled in bad faith simply for the purpose of being able to "check the
           20 box" that a meet and confer had occurred prior to filing their motion. Such conduct is
           21 dishonest and unprofessional. Not only was the purported meet and confer conference
           22 calla "bait and switch" but counsel for Beyond Blond Productions, LLC had no
           23 information regarding the basis for its demand for attorney's fees.
           24         1 1.   Indeed, in my May 17, 2024 email, I memorialized Keshishian's pattern of ~
           25 misconduct. I wrote: "[y]our conduct seems identical to your previous conduct
           26 wherein you sought to meet and confer regarding an award offees, but were unable
           27 to provide any details."(Id.). I further wrote:
           28                Our position regarding your purported meet and confer effort was
                                                            2               CASE NO. 2:22-cv-07092 SPG(MARx)
                                         DECLARATION OF STEVEN S. VAHIDI,ESQ.
          Case 2:20-cv-05581-DSF-GJS          Document 382 Filed 08/28/24              Page 7 of 26 Page ID
                                                    #:6930




             1                 detailed in Heldman 's Opposition to Beyond Blond's Motion.for Civil

             2                 contempt, Section III. A, and appears to be equally crpplicnble here. We

             3                 informed the court that:

             4                        While Heldman acknowledges a telephone conference

             Si                       occurred regarding any attorney's fees claimed by BB

             C~                       regarding the instant motion, no amount was provided. And

             71                       in response to Heldman's requestfor the amount ofattorney's

                                     fees claimed by BB, cocenselfor BB stated, "I will get back to
  o          g
  ~~
  ~~
  N~         9                        you on that."BB'sfailure to provide arty information as to the
  U~
  ~~        10                        claimed attorney'sfees and costsprevented any meaningful or
  mw ~w
  ~ '~
     ~      11                        thorough meet and confer required under the rule.
  o;
a 3~
Iwo
Q Z M
            12 ~~I   •
  ~ ~ N

~ ~ o~ 13      12. It is my request that this Court not tacitly endorse the misconduct ofBeyond
~ ~m~
~~  ~M 14 Blond attorneys by granting the instant motion. This Court should give no weight
  ~ ~~
o ~mW
_ ~ a~ 15 whatsoever to Keshishian's declarations/testimony and be cautious ofany representation
a do
  W"
  ~n        16 made to this Court.
  w ~
 ~~ ~~~
 ~
            17
    Q
  _"
  V Z
  ~ J
            18           I declare under penalty of perjury that the foregoing is true and correct. Executed
  m Q


 0         19 on this 14h day of July, 2024, in Newport Beach, California.
           20                                               ~ ~
                                                                     ~`
           21                                             STEVEN S. VAHIDI, Declarant
           22
           23
           24
           25
           26
           27
           28
                                                                 3                 CASE NO. 222-cv-07092 SPG(MARx)
                                            DECLARATION OF STEVEN S. VAH1Dl,ESQ.
Case 2:20-cv-05581-DSF-GJS   Document 382 Filed 08/28/24   Page 8 of 26 Page ID
                                   #:6931




                                                  ~~       J~
    Case 2:20-cv-05581-DSF-GJS             Document 382 Filed 08/28/24                Page 9 of 26 Page ID
                                                 #:6932


 Steven Vahidi

 From:                           Steven Vahidi
 Sent:                           Friday, May 17, 2024 2:40 PM
 To:                             Kirstin Jensvold-Rumage; Troy Vahidi
 Cc:                             Milord Keshishian; Marlen Milian-Osuna; Meagan Ekaphan; Devon Esguerra; Hannah
                                 Chacko; Kerry Powers; meirjw@aol.com
 Subject:                        RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary
                                 Injunction


 Dear Counsel:

Please let this email confirm our conference call today, which was scheduled per your request to
"discuss a stipulation to amend the preliminary injunction."(see your email below). As you are aware,
the Court order dated March 25, 2024, states in relevant part "the Court finds that a clearer prohibition
on such "demonetizing" would be appropriate, and Plaintiff is free to propose an amendment to the
preliminary injunction along these lines." Nevertheless, at the beginning of the call, you stated that you
had nothing to discuss regarding demonization and that "someone here is working on the proposed
language." As such no substantive meet and confer occurred.

Surprisingly -- or maybe not so surprisingly -- you wanted to meet and confer regarding an award of
attorney's fees, which was not the subject of your request to meet and confer. You requested $21,808,
b ut were unable to provide any details. I asked why are we meeting and conferring on a subject we are
not scheduled to discuss and on a subject that you have no details about. You responded that I should
go discuss this matter with Attorney "Westreich because he knows what to do and has done it with us
before." You added that you intend on filing a motion and that you are required to meet and confer
before filing the motion. I asked that you provide the basis for the request of $21,808 so that I have an
u nderstanding of what your client is seeking other than a flat amount. You responded that you would
forward supporting documents justifyingthe request and asked to meet and confer again.

Your conduct seems identical to your previous conduct wherein you sought to meet and confer regarding
an award of fees, but were unable to provide any details. And previously, you indicated that you would
forward supporting documents justifying the request and asked to meet and confer again. Our position
regarding your purported meet and confer effort was detailed in Hetdman's Opposition to Beyond
Blond's Motion for Civil contempt, Section III. A, and appears to be equally applicable here. We informed
the court that:

         While Heldman acknowledges a telephone conference occurred regarding any
         attorney's fees claimed by88 regarding the instantmotion, no amountwas provided.
         And in response to Heldman's request for the amount of attorney's fees claimed by
         B8, counsel for 88 stated, "/ wil(get back to you on that." BB's failure to provide any
         information as to the claimed attorney's fees and costs prevented any meaningful or
         thorough meet and confer required under the rule.

(Dkt. 359, p. 7-13).
      Case 2:20-cv-05581-DSF-GJS               Document 382 Filed 08/28/24         Page 10 of 26 Page
                                                    ID #:6933
Given your request during today's call for afollow-up meet and confer regarding attorney's fees, and your
representation that you would forward supporting documents justifying the request, we have every
expectation that you will follow through with your representations. And, I would be grateful if you could
forward the documentation in advance ever our next scheduled meet and confer on Friday, May 24 at
2:00 PM,so that I may properly review the documentation and be prepared for the next to meet and
confer.

Thank you for your consideration and have a great weekend.

/Steven Vahidi


Steven Vahidi, Esq.
Office:(833)852-8529 Ext. 700
Mobile: (951)429-0888
steven(a~vahidilawgroup.com


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             L AW GROUP



From: Kirstin Jensvold-Rumage <kirstin@milordlaw.com>
Sent: Monday, May 6, 2024 10:50 AM
To: Steven Vahidi <steven@vahidilawgroup.com>; Troy Vahidi <troy@vahidilawgroup.com>
Cc: Milord Keshishian <milord@milordlaw.com>; Marlen Millan-Osuna <marlen@milordlaw.com>; Meagan Ekaphan
< Meagan@milordlaw.com>; Devon Esguerra <Devon@milordlaw.com>; Hannah Chacko <hannah@milordlaw.com>;
Kerry Powers <kerry@vahidilawgroup.com>
Subject: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

Re:     Beyond Blond Productions, LLC v. Edward Heldman 11l, et al.
         U nited States District Court -Central District of California
        Case No.: 2:20-cv-05581 DSF (GJSx)
        Our Ref. No.: BEY20-002L

Hello Steven and Troy,

Please provide your availability to meet and confer to discuss a stipulation to amend the preliminary injunction.
Per Judge Fischer's order granting the motion for contempt and award of attorneys'fees associated therewith (Dkt.
366), Beyond Blond seeks $21,808.

Most sincerely,

Kirstin Jensvold-Rumage
Associate Attorney

Milord Law Group, PC
Patent, Trademark &Copyright Law
Bank of America Plaza
333 S. Hope Street, Suite 4025
Los Angeles, CA 90071
Tel(310) 226-7878
    Case 2:20-cv-05581-DSF-GJS             Document 382 Filed 08/28/24               Page 11 of 26 Page
                                                ID #:6934
Fax(310)226-7879
www.milordlaw.com


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Case 2:20-cv-05581-DSF-GJS   Document 382 Filed 08/28/24   Page 12 of 26 Page
                                  ID #:6935
                   Case 2:20-cv-05581-DSF-GJS                   Document 382 Filed 08/28/24 Page 13 of 26 Page
 8/26/24, 3:39 PM                                                    ID #:6936
                                                                           Re: BEY20-002L -Request foi Terence re Sanctions, Sfipulation to Amend Preliminary Injunction/


          Subject:      Re: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend
                        Preliminary Injunction
          Date:         8/26/2024 3:38:58 PM Pacific Daylight Time
          From:         meirjw@aol.com
          To:           eheldman.eh3@gmail.com




             From: Steven Vahidi
             Sent: Monday, June 3, 2024 1:53 PM
             To: Meagan Ekaphan <Meagan[~milordlaw.com>; Troy Vahidi <troy~vahidilawgroup.com>
             Cc: Kirstin Jensvold-Rumage <kirstin(~milordlaw.com>; Devon Esguerra <DevonC~milordlaw.com>; Marlen Millan-
             Osuna <marlenC~milordlaw.com>; Milord Keshishian <milordC~milordlaw.com>
             Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

             Given the imminent hearing date on the Motion to Withdraw by Vahidi Law Group, please hold off until after the
             hearing.

             Thank you,

            /Steven

             Steven Vahidi, Esq.

             Office:(833)852-8529 Ext. 700

            Mobile:(951)429-0888
            steven@vahidilawgroup.com

             /~~`~
            ~`         \~~Vc~HIDI
            ~
            ~             - LAW GROUP
                            ,._,,,,- ~_:r ~,. ~ ~~t~ ,~,,.~~.
                    ~/




            From: Meagan Ekaphan <MeaganC~milordlaw.com>
            Sent: Thursday, May 30, 2024 3:44 PM
            To: Steven Vahidi <stevenC~vahidilaw.group.com>; Troy Vahidi <t~C~vahidilaw~roup com>
            Cc: Kirstin Jensvold-Rumage <kirstinCa~milordlaw.com>; Devon Esguerra <DevonC~milordlaw.com>; Marlen Millan-
            Osuna <marlenC~milordlaw.com>; Milord Keshishian <milordCu~milordlaw.com>
            Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

            Dear counsel,

            I am following up to confirm your availability for the zoom conference tomorrow as our office has not received a
            reply since my last email noting Milord's availability.

            Most sincerely,

meirjw's mailbox                                                                                                                                                     ~~8
                   Case 2:20-cv-05581-DSF-GJS           Document 382 Filed 08/28/24 Page 14 of 26 Page
8/26/24, 3:39 PM                                             ID #:6937
                                                                   Re: BEY20-002L -Request fog rerence re Sancfiotis, Stipulation to Amend Preliminary Injunction/

             C. Meagan Ekaphan

              Intellectual Property Paralegal Please note our Herr• office address belo~z~ and update dour records.



             Milord Law Group P.C.

             Patent, Trademark &Copyright Law

             Bank of America Plaza

             333 S. Hope Street, Suite 4025

             Los Angeles, CA 90071

             Tel (310) 226-7878

             Fax (310)226-7879

             w~~~~~~~.~ni lardla~~v.corn

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            From: Meagan Ekaphan
            Sent: Friday, May 24, 2024 2:17 PM
            To: Steven Vahidi <steven vahidilawgroup.com>; Troy Vahidi <troy~vahidilawgroup.com>
            Cc: Kirstin Jensvold-Rumage <kirstin milordlaw.com>; Devon Esguerra <Devon milordlaw.com>; Marlen Millan-
            Osuna <marlen milordlaw.com>; Milord Keshishian <milord milordlaw.com>
            Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

            Hi Steven,

                                                                                       st
            Milord is available at 11:00 a.m. or 2:00 p.m. on May 30~' and May 31

            Most sincerely,

            C. Meagan Ekaphan

            Intellectual Property Paralegal Please note our new office address below and upd~tc your records.



            Milord Law Group P.C.

meirjw's mailbox                                                                                                                                              ya
                   Case 2:20-cv-05581-DSF-GJS           Document 382 Filed 08/28/24 Page 15 of 26 Page
8/26/24, 3:39 PM                                             ID #:6938
                                                                   Re: BEY20-002L -Request foi Terence re Sanctions, Stipulation to Amend Preliminary Injunction/

             Patent, Trademark &Copyright Law

             Bank of America Plaza

             333 S. Hope Street, Suite 4025

             Los Angeles, CA 90071

             Tel(310)226-7878

             Fax (310)226-7879

             ~-~~~w.milordla~~•.com

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             delete this message and attachments, if any.

             From: Steven Vahidi <steven vahidilawgroup.com>
            Sent: Friday, May 24, 2024 1:16 PM
            To: Milord Keshishian <milord milordlaw.com>; Troy Vahidi <troy~vahidilawgroup.com>
            Cc: Kirstin Jensvold-Rumage <kirstin@milordlaw.com>; Devon Esguerra <Devon milordlaw.com>; Meagan
            Ekaphan <Meagan@milordlaw.com>; Marlen Millan-Osuna <marlen milordlaw.com>
            Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

            Hi Milord:

            We are going to have to move today's call to next week because I have an emergent matter arise. Please let me
            know your availability for May 30 and May 31, and I will schedule a new call.

            Sony for any inconvenience,

            /Steven

            Steven Vahidi, Esq.

            Office:(833)852-8529 Ext. 700

            Mobile:(951)429-0888
            steven@vahidilawgroup.com


            `~~ V ~'~ H I D I
                         L AW GROUP




meirjw's mailbox                                                                                                                                             3~8
                   Case 2:20-cv-05581-DSF-GJS            Document 382 Filed 08/28/24 Page 16 of 26 Page
                                                                                                rerence re Sanctions, Stipulation to Amend Preliminary Injunction/
8/26/24, 3:39 PM
                                                              ID #:6939
                                                                    Re: BEY20-002L -Request foi



             From: Milord Keshishian <milord milordlaw.com>
             Sent: Thursday, May 23, 2024 11:36 AM
             To: Troy Vahidi <troy~vahidilawgrou p.com>
             Cc: Steven Vahidi <steven vahidilawgroup.com>; Kirstin Jensvold-Rumage <kirstin milordlaw.com>; Devon
             Esguerra <Devon milordlaw.com>; Meagan Ekaphan <Meaga~milordlaw.com>; Marlen Millan-Osuna
             <marlen milordlaw.com>
             Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction

             Dear Steven:

             In advance of our call tomorrow, please find attached the proposed order for amended preliminary injunction and
             our billing spreadsheet(removing BK motion fees) in accordance with the Court's standing order.

             Best,

             Milord




             From: Milord Keshishian <milord milordlaw.com>
             Sent: Friday, May 17, 2024 5:47 PM
             To: MEIR WESTREICH <meirj~aol.com>
             Cc: Steven Vahidi <steven vahidilawgroup.com>; Troy Vahidi <troy~vahidilawgroup.com>
             Subject: Re: BEY20-002L -Request for Conference re Sanctions, Stipulation to Arnend Preliminary Injunction

             Meir:



            I didn't even know you were copied on this email. If you have any issues to raise, please raise them with
            your co-counsel, Mr. Vahidi, who initially included you on the email thread, to which I merely replied
            all.



            Does Mr. Vahidi have authorization to negotiate on behalf of Mr. Heldman? Should we just file our
            motion for fees because Mr. Heldman will not comply with Judge Fischer's Order? Will you meet and
            confer about our anticipated motion for Mr. Heldman's contempt of the Magistrate Judges Orders and
            fees?



            Sincerely,

            Milord A. Keshishian

            Milord Law Group, PC
            Patent, Trademark &Copyright Law
            Bank of America Plaza
            333 S. Hope Street, Suite 4025
            Los Angeles, CA 90071

            Tel(310)226-7878

meirjw's mailbox                                                                                                                                              4~8
                   Case 2:20-cv-05581-DSF-GJS           Document 382 Filed 08/28/24 Page 17 of 26 Page
                                                                                                ~ference re SancGoAs, Stipulation to Amend Preliminary Injunction/
8/26/24, 3:39 PM                                             ID #:6940
                                                                   Re: BEY20-002L - ReQuest toi

             Fax (310)226-7879

             www.milordlaw.com

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             From: MEIR WESTREICH <meirj~aol.com>
             Sent: Friday, May 17, 2024 5:33:37 PM
             To: Milord Keshishian <milord milordlaw.com>
             Cc: Steven Vahidi <steven vahidilawgroup.com>; Troy Vahidi <troy~vahidilawgroup.com>
             Subject: Re: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend Preliminary Injunction



             Counsel:



            You have no authority or authorization to assume that you can communicate with me for any purpose,
            certainly not as a means of communication with Edward Heldman, and I expect you to refrain from
            further doing so.



            Please be mindful that you have obtained orders forbidding Heldman to communicate with you or your
            firm, and you will therefore refrain from inviting same!by any means.



            Finally, you are mistaken to even imagine that there is any conceivable reference that you can get from
            me which you might think is even slightly beneficial to you.



            Most sincerely,



            Meir J Westreich

            Sent from my iPhone



                     On May 17, 2024, at 3:36 PM,Milord Keshishian <milordCniilordlaw.coin> wrote:

                     Dear Counsel:

meirjw's mailbox                                                                                                                                              5~8
                   Case 2:20-cv-05581-DSF-GJS                    Document 382 Filed 08/28/24 Page 18 of 26 Page
                                                                            Re: BEY20-002L -Request fog :~ference re SancGoAs, Stipulation to Amend Preliminary Injunctionl
 8/26/24, 3:39 PM                                                     ID #:6941
                     The title of the email is "request for conference re sanctions, stipulation to amend
                     preliminary injunction" and the substance of the email discuss the amount of fees Beyond
                     Blond seeks. Nonetheless, in anticipation that you can discuss and obtain approval from
                     your client--despite your declaration to the court that your client is non-responsivewe
                     offered to send you the Excel spreadsheet of costs and fees and draft amended preliminary
                     injunction for your review before our call next Friday. We hope that your position was not
                     merely a delay tactic. As to the rest of your aspersions, the Court already reviewed and
                     rejected them. Thus, no response is necessary.

                     Have a great weekend and enjoy the motorcycle ride.

                     Best,

                     Milord




                     From:Steven Vahidi <steven@vahidilawgroup.com>
                     Sent: Friday, May 17, 2024 2:40 PM
                     To: Kirstin Jensvold-Rumage <kirsfin milordlaw.com>; Troy Vahidi
                     <troy~« vahidilawgrou p.com>
                     Cc: Milord Keshishian <milord milordlaw.com>; Marlen Millan-Osuna
                     <marlen milordlaw.com>; Meagan Ekaphan <Meaga~milordlaw.com>; Devon Esguerra
                     <Devon milordlaw.com>; Hannah Chacko <hannah milordlaw.com>; Kerry Powers
                     <kerry~vahidilawgroup.com>; meirj~aol.com
                     Subject: RE: BEY20-002L -Request for Conference re Sanctions, Stipulation to Amend
                     Preliminary Injunction




                         You don't often ort email from stevenLvahidilaw~roup.com. Learn why this is important


                     Dear Counsel:



                     Please let this email confirm our conference call today, which was scheduled per your
                     request to "discuss a stipulation to amend the preliminary injunction."(see your email
                     below). As you are aware, the Court order dated March 25, 2024, states in relevant part "the
                     Court finds that a clearer prohibition on such "demonetizing" would be appropriate, and
                     Plaintiff is free to propose an amendment to the preliminary injunction along these lines."
                     Nevertheless, at the beginning of the call, you stated that you had nothing to discuss
                     regarding demonization and that "someone here is working on the proposed language." As
                     such no substantive meet and confer occurred.

                     Surprisingly -- or maybe not so surprisingly -- you wanted to meet and confer regarding an
                     award of attorney's fees, which was not the subject of your request to meet and confer. You
                     requested $21,808, but were unable to provide any details. I asked why are we meeting and
                     conferring on a subject we are not scheduled to discuss and on a subject that you have no
                     details about. You responded that I should go discuss this matter with Attorney "Westreich
                     because he knows what to do and has done it with us before." You added that you intend on
                     filing a motion and that you are required to meet and confer before filing the motion. I
meirjw's mailbox                                                                                                                                                      s~8
                   Case 2:20-cv-05581-DSF-GJS           Document 382 Filed 08/28/24 Page 19 of 26 Page
                                                                                               ~rerence re SancGor~s, Stipulation to Amend Preliminary Injundionl
8/26/24, 3:39 PM                                             ID #:6942
                                                                   Re: BEY20-002L -Request foi

                     asked that you provide the basis for the request of $21,808 so that I have an understanding
                     of what your client is seeking other than a flat amount. You responded that you would
                     forward supporting documents justifying the request and asked to meet and confer again.

                     Your conduct seems identical to your previous conduct wherein you sought to meet and
                     confer regarding an award of fees, but were unable to provide any details. And previously,
                     you indicated that you would forward supporting documents justifying the request and asked
                     to meet and confer again. Our position regarding your purported meet and confer effort was
                     detailed in Heldman's Opposition to Beyond Blond's Motion for Civil contempt, Section III.
                     A, and appears to be equally applicable here. We informed the court that:

                             While Heldman acknowledges a telephone conference occurred
                            regarding any attorney's fees claimed by BB regarding the instant
                            motion, no amount was provided. And in response to Heldman s
                            requestfor the amount of attorney's fees claimed by BB, counselfor
                            BB stated, "I will get back to you on that." BB sfailure to provide
                            any ifaformation as to the claimed attorney'sfees and costs prevented
                            any meaningful or thorough meet anc~ confer required under the rule.

                    (Dkt. 359, p. 7-13).

                     Given your request during today's call for afollow-up meet and confer regarding attorney's
                     fees, and your representation that you would forward supporting documents justifying the
                     request, we have every expectation that you will follow through with your representations.
                     And, I would be grateful if you could forward the documentation in advance ever our next
                     scheduled meet and confer on Friday, May 24 at 2:00 PM,so that I may properly review the
                     documentation and be prepared for the next to meet and confer.

                     Thank you for your consideration and have a great weekend.

                     /Steven Vahidi

                     Steven Vahidi, Esq.

                     Office:(833)852-8529 Ext. 700

                     Mobile:(951)429-0888
                     steven@vahidilawgroup.com

                     <image001.png>




                     From: Kirstin Jensvold-Rumage <kirstin@milordlaw.com>
                     Sent: Monday, May 6, 2024 10:50 AM
                     To: Steven Vahidi <steven@vahidilawgroup.com>; Troy Vahidi <troy_@vahidilawgroup.com>
                     Cc: Milord Keshishian <milord@milordlaw.com>; Marlen Millan-Osuna
                     <marlen@milordlaw.com>; Meagan Ekaphan <Meagan@milordlaw.com>; Devon Esguerra
                     <Devon@milordlaw.com>; Hannah Chacko <hannah@milordlaw.com>; Kerry Powers
                     <kerry_@vahidilawgroup.com>
                     Subject: BEY20-002L -Request for Conference re Sanctions, Sfipulation to Amend
                     Preliminary Injunction



meirjw's mailbox                                                                                                                                             ~~8
                   Case 2:20-cv-05581-DSF-GJS            Document 382 Filed 08/28/24 Page 20 of 26 Page
                                                                                                .iference re SancGohs, Stipulation to Amend Preliminary Injunction/
8/26/24, 3:39 PM                                              ID #:6943
                                                                    Re: BEY20-002L -Request foi

                     Re:      Beyond Blond Productions, LLC a Edward Heldman III, et al.

                               United States District Court -Central District of California

                               Case No.: 2:20-cv-05581 DSF(GJSx)

                               Our Ref. No.: BEY20-002L

                     Hello Steven and Troy,

                     Please provide your availability to meet and confer to discuss a stipulation to amend the
                     preliminary injunction.

                     Per Judge Fischer's order granting the motion for contempt and award of attorneys' fees
                     associated therewith (Dkt. 366), Beyond Blond seeks $21,808.

                     Most sincerely,

                     Kirstin Jensvold-Rumage

                     Associate Attorney

                     Milord Law Group,PC

                     Patent, Trademark &Copyright Law

                     Bank of America Plaza

                     333 S. Hope Street, Suite 4025

                     Los Angeles, CA 90071

                     Tel(310)226-7878

                     Fax (310)226-7879

                     www.milordlaw.com

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meirjw's mailbox                                                                                                                                               8~8
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                                  ID #:6944
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                                   ID #:6945



     1 MEIR J. WESTREICH [CSB 73133]
       Attorney at Law
     2 221 East Walnut, Suite 200
       Pasadena, California 91101
     3 626.676.3585
       meirjw@aol.com
     4

     5 ~ Attorney for Defendants-Cross-Complainants
    6

     7

     8                       UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
    10

    11                        B L O N D          Case No.2:20-cv-05581-DSF-GJSx
         B EYOND
    12   PRODUCTIONS,LLC,a California
         Limited Liability Company,                 Honorable Dale S. Fischer
    13                           Plaintiff,     DECLARATION OF MEIR J.
    14
                                                WESTREICH
         v.
    15
                                                Hearing
         EDWARD HELDMAN III an                  Time: I:30 p.m.
    16
         individual; COMEDYMX II~C. a           Courtroom: 7D, First Street Courthouse
         Nevada Corporation; COM~DYN~X,
    17
         a Delaware Limited Liability
         Company,
    18                         Defendants.
    19
         COMEDYMX, a Delaware Limited
   20    Liability Company,
   21                   Counter-claimant,
   22    v.
   23    B EYOND              B L O N D
         PRODUCTIONS,LLC,a California
   24    Limited Liability Company,
   25                 Counter-Defendant.
   26

   27

   28

                                DECLARATION OF MEIlt J. WESTREICH
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                                       ID #:6946



     1                     DECLARATION OF MEIR J. WESTREICH
     2           1. I was previously an attorney ofrecord for Defendants-Cross-Complainants.
     3 ~ This declaration is submitted in support of the Motion to Strike.

     4          2. I had previously represented Edward Heldman in another matter, which
     5   ultimately settled. He was then a recovering alcoholic,known to me,and we worked
     6   well together. I had known him initially as the nephew ofa client, by then deceased,
     7 ~ who I had represented on-and-off for 30+ years.

     8          3. I became attorney of record herein under an arrangement where another
     9 ~ attorney, with more expertise in this field, was not of record.
    10          4. As time passed, it became evident that Mr. Heldman had resumed drinking
    11   alcohol and it was severely impacting his behavior and judgment, as eventually
    12   became evident to all involved herein.
    13          5. I eventually gave him an ultimatum: cease drinking alcohol under a
    14   protocol that guarantees same, or I would cease representing him. By the time I was
    15   formally relieved, he was still drinking alcohol, and I had no longer been involved on
    16   any regular basis in his representation. Iwas not involved in any way in any of the
    17   subsequent proceedings herein or in bankruptcy court.
    18          6. Recently, Mr. Heldman approached me to resume representing him,
    19   asserting he had ceased drinking in February 2023. I agreed to do so solely in an
   20    advisory capacity,ifI receive adequate assurances that he was totally abstaining from
   21    alcohol, i.e. "sober".
   22           7. Specifically, I required him to afford me access to his psychiatrist since
   23    August 2023 and his psychiatric records; and in a communication with him and Mr.
   24    Heldman, it was represented that he has been on medications which are not
   25    compatible with alcohol, and it is now agreed that Mr.Heldman will be on monitored
   26    antabuse, which makes drinking alcohol a virtual impossibility, and is common
   27    protocol used by the criminal justice system to ensure that rink drivers can be trusted
   28    to be "sober" while on probation.
                                     DECLARATION OF MEIR J. WESTREICH
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                                       ID #:6947



     1           8. While sober. Mr. Heldman is the same client I had experienced in the prior
    2 II representation.

    3            9. Earlier in my representation herein,I had responded to Mr.Heldman's wild
    4     conspiracy paranoia by attempting to dissuade him,but also noting that his rage over
    5     opposing counsel had significant basis in fact. Counsel can be fairly described as an
         ~ attorney in the"Roy Cohn" mold,and the recent film"Where Is My Roy Cohn"gives
    7 ~ an understanding to my meaning.

    8            10. When I first appeared herein in mid-November 2020, with imminent
    9 written discovery response deadlines,and I requested a discovery response extension
    t0   to 11.30.20. Counsel refused to agree to more than a few days, citing late January
    11   discovery cutoff date.
    12           1 1. I responded by simply giving notice of an intended ex parte application,
    13   seeking a slightly different extension: one with an alternative ofth later of 11.30.20
    14   offive days after filing ofa discovery protective order[DPO],then being negotiated.
    15   I also said I was about to travel to a trial in Bishop, Ca. and hence had to act on the
    16   application immediately or not at all.
    17           12. Counsel agreed to the latter terms, as was confirmed by e-mail.
    18           13. Later, counsel attempted to alter the agreement to be the mere extension
    19 first requested, when I was already in trial.
   20            14. Ultimately, responses were provided as agreed; but an expensive
   21    protracted discovery and e-mail battle ensued over whether privileges had been
   22    waived, ultimately boiling down to arguments over when a DPO is filed — as opposed
   23    to initially lodged —and then finally over a single day.
   24            15. Dealing with this attorney means a perpetual stream ofe-mails,producing
   25    extended chains. When I once responded by"blocking"a single entry,he complained
   26    that I wasted his time and his client's money because he had to "reconstruct" the
   27    chain e-mail.
   28
                                     DECLARATION OF MEIR J. WESTREICH
Case 2:20-cv-05581-DSF-GJS         Document 382 Filed 08/28/24            Page 25 of 26 Page
                                        ID #:6948



     1            16. When I would persist in directing key e-mails to him, he suggested that
     2 I was affronting his junior associates, also suggesting a baseless gender motivation.
     3            17. He began baseless demands that all attorney meet and confer efforts be
     4     taped, which I refused. He then refused for months to speak with me, and only
     5     relented when it would have been necessary to present the dispute to the court.
     6 ~          18. These are only some early examples. All of his attorney hours, and time
     7     spent on discovery and motion matters, and hence the expense, are needlessly and
     8     exponentially multiplied by these e-mail and threatening, accusatory tactics; and
     9 causes the same for other counsel herein, and thereby for Mr Heldman.
    10            19. These counsel problems thus also needlessly aggravated problems with
    11     and involving Mr. Heldman, who allowed that conduct to self-justify his own —
    12     howeverbaseless in fact or law —while in his alcohol-induced fog.
    13            20. While these matters do not excuse much of Mr. Heldman's conduct, it
    14     affords a background for assessing an appropriate consequence; and for assessing
    15     counsel's current conduct and demands.
    16            I declare under penalty ofperjury under the laws ofthe State ofCalifornia that
    17     the above is true and correct. Executed on February 20, 2024, at Los Angeles,
    18     California.
    19

   20                                                  s/ Meir J. Westreich
   21                                              Meir J. Westreich
   22
   23

   24
   25
   26
   27

   28
                                      DECLEIRATION OF MEIR J. WESTREICH
Case 2:20-cv-05581-DSF-GJS       Document 382 Filed 08/28/24           Page 26 of 26 Page
                                      ID #:6949



     1                                 PROOF OF SERVICE
     2   STATE OF ARIZONA
                                                   SS
     3   COUNTY OF MARICOPA
     4          I,the undersigned,certify that I am a citizen ofthe United States, over the age
     5   of 18 years, residing in the County of Maricopa, State of Arizona.
    6           On August 27, 2024, I caused to be served a true copy of
     7
                RESPONSE TO MOTION FOR SANCTIONS; DECLARATION OF
    8           EDWARD HELDMAN III; EXHIBITS
    9
         on the Plaintiff by e-mail, whose address is:
    10
    11 Milord A. Keshishian
       Milord Law Group,PC
       333 S. Hope Street, Suite 4025
    12 Los An   eIes, CA 90071
    13 milord~a milordlaw.com

    14        I declare under penalty ofperjury that the above is true and correct. Executed

    15   on August 27, 2024, at Sun City, Arizona.
    16

    17
                                                Edward Heldman III - In Pro Per
    18

    19
   20
   21

   22

   23

   24

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   27

   28
                                   RESPONSE TO MOTION FOR SANCTIONS.
